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FTB:PP/EWS
F. #2022R00606

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                 INFORMATION

       - against -                                       Cr. No. 24-374 (CBA)
                                                         (T. 18, U.S.C., §§ 981(a)(1)(C), 1343, 2 and
ERLENE KING,                                              3551 et seq.; T. 21, U.S.C., § 853(p); T. 28,
                                                          U.S.C., § 2461(c))
                         Defendant.

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THE UNITED STATES ATTORNEY CHARGES:

                                       INTRODUCTION

               At all times relevant to this Information, unless otherwise indicated:

I.      New York City’s Public Matching Funds Program

               1.        The New York City Campaign Finance Board (“CFB”) oversaw and

administered a publicly funded campaign finance system in connection with municipal

elections in New York City that included, among other things, a “matching funds program”

that provided eligible candidates with public funds based on the number and amount of

certain donor contributions.

               2.        Candidates running for municipal office in New York City,

including the Office of the Brooklyn Borough President, were eligible to participate in the

CFB’s matching funds program if they met certain criteria. Among other things, to be

eligible to receive public funds, candidates were required to meet a two-part fundraising

threshold. Specifically, a candidate had to collect a minimum number of donations and
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raise a minimum amount of money from New York City residents before the CFB paid any

matching funds.

              3.        If candidates met the eligibility criteria, they received different

amounts of matching funds based on the kinds of contributions they received. For

candidates who ran for the Office of the Brooklyn Borough President during the 2021

election cycle, candidates received up to $8 in matching funds for each $1 of eligible

contributions, up to $175 per contributor. In other words, if a candidate received an

eligible contribution of $175, a candidate for the Office of the Brooklyn Borough President

could collect up to $1,400 in matching funds. However, certain kinds of contributions

(such as cash contributions) were subject to additional limitations. In total, the matching

funds program provided up to $1,457,777 in public matching funds to a candidate for the

Office of the Brooklyn Borough President. Because campaigns for Brooklyn Borough

President during the 2021 election cycle needed to raise at least $50,000 in eligible

contributions to receive any matching funds, any candidate who was eligible to receive

matching funds from the CFB necessarily received at least $400,000 in matching funds from

the CFB.

              4.        Some contributions that otherwise could be accepted by political

campaigns were not eligible to be matched, including contributions from non-New York

City residents; contributions from or arranged by individuals doing business with New York

City; and contributions from one-time employees or vendors of a candidate’s own

campaign.

              5.        Among other requirements, candidates seeking matching funds

were required to file electronically disclosure statements with the CFB by specified
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deadlines. A campaign seeking matching funds was required, for each donation made by

cash or money order and represented to be eligible for such funds, to provide the CFB with

a campaign contribution form containing the contributor’s name, address, employment

information, and amount donated. That form was required to be signed by the contributor,

who was required to acknowledge that the listed contribution was made in the contributor’s

name, from the contributor’s funds, and that the contributor would not be reimbursed for

contributing. For contributions made by check or credit card, a campaign was permitted to

obtain contribution cards as backup documentation for matching claims or else was required

to provide CFB with copies of the checks or credit-card proof of processing, respectively.

               6.        Certain kinds of contributions were prohibited entirely, including,

among other things, “nominee contributions,” in which money was given to a campaign

under a contributor’s name but, in reality, the money for that contribution came from, or

was reimbursed by, another person or entity. The CFB informed candidates, in substance

and in part, that “[n]ominee contributors are also referred to as straw donors, and these types

of contributions are not only prohibited but also illegal.”

II.      The Scheme to Defraud the Public Matching Funds Program

               7.        On October 22, 2020, a candidate running in a primary for the Office

of the Brooklyn Borough President whose identity is known to the United States Attorney

(“Candidate #1”) filed a certification with the CFB declaring Candidate #1’s candidacy. As part

of that certification, Candidate #1 indicated, among other things, that Candidate #1 wished to

participate in the CFB’s matching funds program.

               8.        The defendant ERLENE KING served as the campaign treasurer for

Candidate #1’s campaign for the Office of the Brooklyn Borough President (the “Campaign”).
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On Candidate #1’s certification submitted to the CFB, KING certified that she understood that

she was prohibited from causing the Campaign to submit fraudulent matchable contribution

claims and/or false information to the CFB.

               9.        Between October 2020 and April 2022, the defendant ERLENE KING,

together with others, conspired to obtain fraudulent contributions for Candidate #1 for the

purpose of, among other things, defrauding the CFB’s matching funds program. A number of

those contributions, which were obtained at KING’s direction, were fraudulent nominee

contributions made in the names of individuals who did not personally fund the contributions or

were reimbursed for them (i.e., straw donors). Other fraudulent contributions were made in the

names of individuals whose identities were stolen and who had not personally contributed to the

Campaign.

               10.       The defendant ERLENE KING used electronic payment platforms to

finance many of the nominee contributions and directed intermediaries to disburse the funds to

straw donors. For example, on May 11, 2021, KING paid $1,110 to an individual whose

identity is known to the United States Attorney (“Individual #1”) via CashApp, an electronic

payment platform, writing “6” in the subject line. Hours later, Individual #1 sent $540 via

CashApp to another individual and wrote, “Contribute to [Candidate #1] for me 175x3 ppl 180

each.” The following day, the recipient of the funds from Individual #1 donated $175 to the

Campaign.

               11.       As another example, on May 14, 2021, the defendant ERLENE KING

paid $1,110 to Individual #1 via CashApp. Hours later, Individual #1 paid $180 to another

individual and wrote, “donate 175 for me to TY.” Approximately one hour later, the recipient

of the funds from Individual #1 donated $175 to the Campaign.
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               12.        On June 23, 2021, the defendant ERLENE KING paid Individual #1

$1,500 via CashApp. The following day, Individual #1 paid six individuals via CashApp a total

of $1,110. Individual #1 wrote to four of the recipients, “donate $150 for me TY.” Individual

#1 wrote to one recipient, “donate $175 for me TY”; and Individual #1 told another recipient,

“donate 150x2.” Later that day, the recipients of the funds from Individual #1 donated to the

Campaign in accordance with Individual #1’s instructions.

               13.        On June 26, 2021, the defendant ERLENE KING paid $1,000 via

CashApp to another individual whose identity is known to the United States Attorney

(“Individual #2”). Later that day, Individual #2 paid three individuals via CashApp a total of

$700. Individual #2 wrote to one of the recipients of the funds, “175 per person.” The

Campaign then received $700 total from three donors. Two of the contributors were direct

recipients of the funds from Individual #2, while the third contributor received the funds through

another individual who acted as an intermediary with Individual #2.

               14.        Three days later, Individual #2 sent an Instagram message to another

prospective contributor, writing, “I need to contribute to this guy’s election but since [I] don’t

live in [Brooklyn] I can’t directly contribute. So I’m giving my [Brooklyn] friend the money to

donate for me. If [I] can give you 175 to donate to his campaign that would help me out a lot[.]”

Individual #2 then specified that the candidate was “[Candidate #1] for borough president” and

asked the prospective contributor for his or her CashApp information. The following day,

Individual #2 paid the prospective donor $175 via CashApp, who then donated the money to the

Campaign.

               15.        Ultimately, the defendant ERLENE KING and her co-conspirators

caused the Campaign to submit at least $25,000 in straw donations, along with corresponding
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fictitious records, in an effort to meet the CFB’s thresholds for receiving public matching funds

and to defraud the CFB of at least $400,000 in public matching funds.

               16.         The CFB sought additional information to ensure the legitimacy of the

contributions. In response, the defendant ERLENE KING and her co-conspirators caused the

Campaign to submit additional fictitious information to the CFB, including forged affirmation

letters that falsely attested that the listed donors contributed to the Campaign. KING directed a

Campaign staffer, whose identity is known to the United States Attorney (“Staffer #1”), to

provide her with personal identifying information for individuals who had not donated to the

Campaign and caused the Campaign to submit fictitious paperwork attesting that those donors

contributed to the Campaign. KING then caused Staffer #1 to falsely notarize fictitious

affirmation letters attesting that the individuals contributed to the Campaign.

               17.         The CFB ultimately determined that the Campaign submitted fictitious

records and did not pay any public matching funds to the Campaign.

                                           WIRE FRAUD

               18.     The allegations contained in paragraphs one through 17 are realleged and

incorporated as if fully set forth in this paragraph.

               19.     In or about and between October 2020 and April 2022, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

ERLENE KING, together with others, did knowingly and intentionally devise and intend to

devise a scheme and artifice to defraud one or more persons, and to obtain money and property

from such persons by means of one or more materially false and fraudulent pretenses,

representations and promises, and for the purpose of executing such scheme and artifice, did
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transmit and cause to be transmitted, by means of wire communication in interstate commerce,

one or more writings, signs, signals, pictures and sounds, to wit: CashApp transactions.

                (Title 18, United States Code, Sections 1343, 2 and 3551 et seq.)

                             CRIMINAL FORFEITURE ALLEGATION

                20.    The United States hereby gives notice to the defendant that, upon her

conviction of the offense charged herein, the government will seek forfeiture in accordance with

Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section

2461(c), which require any person convicted of such offense to forfeit any property, real or

personal, constituting, or derived from, proceeds obtained directly or indirectly as a result of

such offense.

                21.    If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with, a third party;

                       (c)     has been placed beyond the jurisdiction of the court;

                       (d)     has been substantially diminished in value; or

                       (e)     has been commingled with other property which cannot be divided

without difficulty;
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it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of the defendant up to the value of the forfeitable property

described in this forfeiture allegation.

               (Title 18, United States Code, Section 981(a)(1)(C); Title 21, United States Code,

Section 853(p); Title 28, United States Code, Section 2461(c))




                                                     __________________________________
                                                     BREON PEACE
                                                     UNITED STATES ATTORNEY
                                                     EASTERN DISTRICT OF NEW YORK
